Case 1:21-cr-00399-RDM Document 120-1 Filed 05/18/23 Page 1 of 3




         Exhibit 1
                     Case 1:21-cr-00399-RDM Document 120-1 Filed 05/18/23 Page 2 of 3
AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                             DistrictDistrict
                                                        __________    of Columbia
                                                                              of __________
                   United States of America                                       )
                              v.                                                  )
                        Roman Sterlingov                                          )   Case No. 21-CR-00399-RDM
                                                                                  )
                              Defendant                                           )

                      SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To:     Catherine Alden Pelker C/O United States Department of Justice
        950 Pennsylvania Ave NW
        Washington, DC 20530



        YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.
Place of Appearance: The U.S. District Court for D.C.                                 Courtroom No.:     8
                               333 Constitution Avenue N.W.                           Date and Time: 09/14/2023 9:30 am
                               Washington D.C. 20001
           You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):




          (SEAL)


Date:          03/08/2023
                                                                                      CLERK
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                                                                                                                           Deputy
                                                                                                                             eputy Clerk



The name, address, e-mail, and telephone number of the attorney representing (name of party)                                Roman Sterlingov
                                       , who requests this subpoena, are:
 Tor Ekeland
 Tor Ekeland Law, PLLC
 30 Wall Street
 8th Floor
 New York, NY
 10005
 718-737-7264
 tor@torekeland.com
                     Case 1:21-cr-00399-RDM Document 120-1 Filed 05/18/23 Page 3 of 3
AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case (Page 2)

Case No. 21-CR-00399-RDM

                                                                PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                     .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                      on (date)                                    ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                                for services, for a total of $          0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                     Server’s signature



                                                                                                   Printed name and title




                                                                                                      Server’s address

Additional information regarding attempted service, etc:
